      Case: 3:24-cr-00050-jdp      Document #: 6      Filed: 05/20/24    Page 1 of 10




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA

       v.                                                Case No. 24-CR-50-JDP

STEVEN ANDEREGG,

                     DEFENDANT.


              GOVERNMENT’S BRIEF IN SUPPORT OF DETENTION


       The United States of America, by and through undersigned counsel, hereby

submits this brief in support of its request under 18 U.S.C. § 3142(e) and (f) for the Court

to order the defendant detained pending trial.

       The defendant is charged in a four-count indictment with producing, distributing,

and possessing obscene visual depictions of minors engaged in sexually explicit conduct

and transferring obscene material to a minor under the age of sixteen. These charges stem

from his use of generative artificial intelligence (“GenAI”) to create hyper-realistic images

of nude and semi-clothed prepubescent children lasciviously exhibiting or touching their

genitals or engaging in sexual intercourse. The defendant was caught by law enforcement

after boasting to a fifteen-year-old about creating these images using a GenAI model

called Stable Diffusion (produced by Stability AI) and sending the minor images of

prepubescent boys displaying their erect penises in direct messages on Instagram. But

this is not the defendant’s first encounter with law enforcement for suspected online

child-exploitation crimes, nor are these the only criminal charges involving the
        Case: 3:24-cr-00050-jdp    Document #: 6    Filed: 05/20/24    Page 2 of 10




exploitation of minors pending against him. For these reasons, and as further explained

below, the defendant poses a significant danger to this community and a risk of non-

appearance, and this Court should find that there are no conditions of release that can

adequately mitigate these risks.

   I.      FACTUAL BACKGROUND

        In November 2023, law enforcement in Wisconsin received two CyberTips from

the National Center for Missing and Exploited Children (“NCMEC”) related to a

particular Instagram account (the “Subject Account”). The CyberTips advised that the

user of the Subject Account sent AI-generated images of naked minors over Instagram

Direct Messenger (“DM”) to a potential minor in October 2023. Instagram DM is an in-

app messaging feature that allows an Instagram user to share and privately exchange text

and images with one or more other users of Instagram.

        After receiving these CyberTips, law enforcement obtained the contents of the

Subject Account pursuant to a warrant. A review of this material revealed that, in

September 2023, the user of the account posted an Instagram story consisting of a realistic

GenAI image of minors wearing BDSM-themed leather clothes and a message

encouraging others to “[c]ome check out what [they] are missing” on Telegram, which is

an encrypted mobile-messaging application. Additionally, in the Subject Account’s direct

messages on Instagram, the user discussed his desire to have sex with prepubescent boys

and the fact that he has a wife and child and lives in Wisconsin. In one direct-message

exchange, another user asked the Subject Account for nude images of minors and the

Subject Account user advised that he has “tons” of images like that on Telegram before

                                            2
      Case: 3:24-cr-00050-jdp     Document #: 6    Filed: 05/20/24    Page 3 of 10




sending this other user a Telegram link. And in other direct-message chats, the user of

the Subject Account explained that he does not publicly post fully nude images of minors

on Instagram because that would be illegal and discussed how he evades the detection

of GenAI models that censor the production of sexually inappropriate content.

      Law enforcement also located the Subject Account’s direct-message conversation

with a potential minor that was reported in the CyberTips. A review of this conversation

confirmed that, in response to questioning from the Subject Account, the other user

advised that he was only fifteen years old, which law enforcement has since verified was

true. The user of the Subject Account then explained to the minor how he creates GenAI

images by inputting text prompts in a text-to-image GenAI model called Stable Diffusion,

which generates images based on his parameters. After asking if the minor would like

any customized GenAI images, the user of the Subject Account sent a series of realistic

images of semi-clothed minor boys, including three images that depict prepubescent boys

graphically displaying their erect penises.

      Based on the information provided by Instagram, law enforcement linked the

Subject Account to an internet account under the defendant’s name at his home in

Holmen, Wisconsin. But this was not the first time that the defendant’s internet account

had been flagged during a child-exploitation investigation. Roughly four years prior, law

enforcement had observed that someone using the internet at his home was requesting

to download multiple files of known child sexual abuse material over an online peer-to-

peer network. Law enforcement searched the defendant’s home in furtherance of this

investigation in 2020, during which the defendant admitted to using and deleting the

                                              3
      Case: 3:24-cr-00050-jdp     Document #: 6      Filed: 05/20/24    Page 4 of 10




specific peer-to-peer program and often resetting his internet modem. No charges have

been brought in connection with this prior investigation.

       In February 2024, law enforcement obtained and executed a warrant to search the

defendant’s home in furtherance of its investigation of the Subject Account. The

defendant voluntarily agreed to speak with law enforcement during the search and

admitted to being familiar with Stable Diffusion before ending the interview. Law

enforcement located his home office in the basement of the residence and found a work

computer for his job as a software engineer 1 and his personal laptop. Law enforcement

seized this personal laptop and two cell phones, among other devices, pursuant to the

warrant. A review of these devices uncovered evidence linking the defendant to the

Subject Account. Further, the review confirmed that the defendant installed Stable

Diffusion, along with a graphical user interface and special add-ons created by other

Stable Diffusion users that specialized in producing genitalia, on his personal laptop and

then used these combined tools to generate photo-realistic images of minors. He had on

this laptop over 13,000 GenAI images, with hundreds—if not thousands—of these images

depicting nude or semi-clothed prepubescent minors lasciviously displaying or touching

their genitals. Still others depict prepubescent minors touching what appear to be adult

male penises or engaging in sexual intercourse. Additional evidence from the laptop

indicates that he used extremely specific and explicit prompts to create these images. He



1 A copy of the defendant’s CV indicates that he has worked as a software engineer since

2003 and studied computer science in college. His CV also lists a recent job at a startup in
which he “[u]tilize[d his] excellent technical understanding in formulating AI models” to
develop the company’s infrastructure.
                                             4
         Case: 3:24-cr-00050-jdp    Document #: 6      Filed: 05/20/24    Page 5 of 10




likewise used specific “negative” prompts—that is, prompts that direct the GenAI model

on what not to include in generated content—to avoid creating images that depict adults.

          Following the search of his residence and additional investigation, the defendant

was charged in La Crosse County Circuit Court with exposing a child to harmful material,

in violation of Wis. Stat. § 948.11(2)(a), and first-degree sexual assault of a child under the

age of thirteen, in violation of Wis. Stat. § 948.02(1)(e). See State of Wisconsin v. Steven A.

Anderegg, Case No. 2024CF000185. He is currently released on bond in that case.

   II.       LEGAL STANDARD

          The United States requests a detention hearing because the defendant has been

charged with a felony that “involves a minor victim.” 18 U.S.C. § 3142(f)(1)(E). Pursuant

to § 3142(g), the Court must determine whether there are any “conditions of release that

will reasonably assure [his] appearance … as required and the safety of any other person

and the community.” When making this determination, the Court should consider (1) the

nature and circumstances of the offense, (2) the weight of the evidence, (3) the defendant’s

history and characteristics, and (4) the nature and seriousness of the danger to the

community posed by the defendant’s release. See 18 U.S.C. § 3142(g). The government

bears the burden of proving that the defendant is a risk of flight by a preponderance of

the evidence and that he is a danger to the community by clear and convincing evidence.

See United States v. Portes, 786 F.2d 758, 764-65 (7th Cir. 1985).

   III.      ARGUMENT

          Based on careful consideration of the factors enumerated in 18 U.S.C. § 3142(g),

the United States submits that there is no condition or combination of conditions that will

                                               5
      Case: 3:24-cr-00050-jdp    Document #: 6     Filed: 05/20/24   Page 6 of 10




reasonably assure the safety of the community or the defendant’s appearance should he

be released pending trial.

          A.     The Nature and Circumstances of the Offense Charged

      Starting first with the nature and circumstances of the offenses, the alleged

conduct is exceptionally serious. Under the Sentencing Guidelines, if convicted of all

offenses and given his other relevant conduct and the potential applicability of an

enhancement for using his special skill in GenAI, the defendant’s recommended

sentencing range may be as high as life imprisonment. And while he has not been charged

with a child-pornography offense under Chapter 110 of the United States Code—and

thus avoids the rebuttable presumption in favor of detention in the Bail Reform Act, see

18 U.S.C. § 3142(e)(3)(E)—the defendant’s conduct nevertheless implicates the very

concerns that motivated Congress to apply this rebuttable presumption to this category

of offenders through the Adam Walsh Act in the first place. See Adam Walsh Child

Protection and Safety Act of 2006, Pub. L. No. 109-248, 120 Stat 587 (2006). Indeed, the

images that the defendant produced are extremely realistic and clearly designed both to

vividly depict minors engaged in sexually explicit conduct and arouse offenders who

derive sexual gratification from seeing minors being exploited and abused.

      Nor is the defendant’s conduct limited to merely possessing these images. To the

contrary, as detailed above, he actively cultivated an online community of like-minded

offenders—through Instagram and Telegram—in which he could show off his obscene

depictions of minors and discuss with these other offenders their shared sexual interest

in children. Put differently, he used these GenAI images to attract other offenders who

                                           6
      Case: 3:24-cr-00050-jdp     Document #: 6     Filed: 05/20/24   Page 7 of 10




could normalize and validate his sexual interest in children while simultaneously fueling

these offenders’ interest—and his own—in seeing minors being sexually abused.

      And perhaps most concerning of all, the defendant distributed these images to a

minor using an Instagram account that was plainly designed to allow the defendant to

act on his sexual interest in children. When this minor made his age known, the defendant

did not rebuff him or inquire further. Instead, he wasted no time in describing for this

minor how he creates sexually explicit GenAI images and sent the child custom-tailored

content. This conduct was not aimed at fostering a conversation about human anatomy

or even artificial intelligence—rather, the only reasonable explanation for sending these

images was to sexually entice the child. And as a result of this exceptionally serious

conduct, the defendant now faces a mandatory minimum sentence of five years and a

maximum sentence of decades in prison if convicted.

          B.     The Weight of the Evidence

      The weight of the evidence against the defendant is strong. The Instagram account

used to distribute the sexually explicit images has been linked directly to the defendant

and his home, and the direct messages sent by the user further corroborate that the

account belonged to him. A trove of similar GenAI images was recovered from the

defendant’s personal laptop in his home office, as well as his cell phone. The defendant

also told law enforcement that he is familiar with the specific GenAI model used to create

these images, and even has professional experience working with AI.




                                            7
      Case: 3:24-cr-00050-jdp     Document #: 6     Filed: 05/20/24    Page 8 of 10




          C.     The History and Characteristics of the Defendant

      While the defendant has no prior criminal convictions, his offense conduct was

not an isolated incident. Rather, it was part of a long-standing and ongoing course of

conduct for which he has evaded accountability until very recently. Indeed, just a few

years ago, law enforcement searched his home after observing that someone was

attempting to download child sexual abuse material over a peer-to-peer network. And

even assuming that there is an innocent explanation for this—which, to be sure, is a

dubious supposition given what the current investigation has revealed—the prior search

should have signaled to the defendant that law enforcement takes seriously

investigations that uncover evidence of possible child exploitation. Yet less than five

years later, law enforcement had to return to the defendant’s home after learning that he

was sending sexually explicit imagery to a minor over Instagram. On top of that, he is

now facing charges in La Crosse County Circuit Court for separate criminal conduct

involving the sexual assault of a child under the age of thirteen that was only recently

uncovered through and as a result of this investigation.

          D.     The Nature and Seriousness of the Danger to the Community that
                 Would Be Posed by the Defendant’s Release

      The danger the defendant poses to the community is immense. As noted supra,

despite having no prior convictions, the evidence indicates that his criminal conduct

extends well beyond the scope of the current charges. And, as best the government can

tell, all of this conduct has been motivated by a sexual interest in children. Accordingly,

if he were to reoffend while on pretrial release, not only would the harm caused by such


                                            8
     Case: 3:24-cr-00050-jdp     Document #: 6    Filed: 05/20/24   Page 9 of 10




recidivist conduct likely be severe, but it would be inflicted on the most vulnerable

members of his community—minor children.

      To make matters worse, the defendant is extremely technologically savvy. He

studied computer science and has decades of experience in software engineering. While

computer monitoring may address the danger posed by less sophisticated offenders, the

defendant’s background provides ample reason to conclude that he could sidestep such

restrictions if he decided to. And if he did, any reoffending conduct would likely go

undetected. Indeed, despite the scope of his apparent crimes, the defendant was only

caught because Instagram detected and reported that he sent a fifteen-year-old boy

obscene images of minors engaged in sexually explicit conduct by direct message on a

single day in October 2023. Since October 2023, Meta has begun to roll out default end-

to-end encryption on its Facebook and Messenger platforms and has indicated that

Instagram’s direct message feature would follow soon after. 2 If default end-to-end

encryption were enabled on Instagram, it is highly likely that no one, including Meta,

would be able to detect what the defendant might send by direct message except for the

recipient of that message. The same goes for Telegram, which the defendant discussed

using with others, and any number of other encrypted messaging applications. And

while AI companies have pledged to make it more difficult for offenders to use future




2         See         End-to-end        encryption          on          Instagram,
https://help.instagram.com/936296650678728/?helpref=related_articles (last visited
May 16, 2024).


                                          9
     Case: 3:24-cr-00050-jdp      Document #: 6       Filed: 05/20/24   Page 10 of 10




versions of GenAI tools to generate images of minors being sexually abused, 3 such steps

will do little to prevent savvy offenders like the defendant from running prior versions

of these tools locally from their computers without detection.

   IV.      CONCLUSION

         Given the serious nature of the defendant’s conduct and the penalties he faces if

convicted, there are no conditions that would ensure his appearance in court or the

protection of the community if he were to be released. Accordingly, the defendant should

be detained pending trial pursuant to 18 U.S.C. § 3142(e). If the Court disagrees, the

United States submits that the defendant should, at a minimum, be subject to computer

and GPS monitoring and prohibited from having any contact with minors.

         Dated this 20th day of May, 2024.

                                             Respectfully submitted,

                                             STEVEN J. GROCKI
                                             Chief, Child Exploitation & Obscenity Section

                                    By:
                                             /s/ William G. Clayman
                                             William G. Clayman
                                             Trial Attorney




3 See Kat Tenbarge, Top AI companies commit to child safety principles as industry grapples

with deepfake scandals, NBC News (April 23, 2024, 8:09 PM EDT),
https://www.nbcnews.com/tech/tech-news/top-ai-companies-commit-child-safety-
principles-thorn-rcna148988.
                                               10
